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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


NATIONAL VETERANS LEGAL
SERVICES PROGRAM, NATIONAL
CONSUMER LAW CENTER, and
ALLIANCE FOR JUSTICE, for themselves
and all others similarly situated,
                        Plaintiffs,                    Case No. 16-745-ESH

       v.

UNITED STATES OF AMERICA,
               Defendant.


                 JOINT MOTION TO EXTEND BRIEFING SCHEDULE
                        AND SUPPORTING MEMORANDUM

       The parties hereby jointly request extensions, under Federal Rule of Civil Procedure

6(b)(1), of the time in which to file their responses to the two motions now pending in this case:

plaintiffs’ motion for class certification (Dkt. 8) and the government’s motion to dismiss (Dkt. 11).

       1. The plaintiffs’ motion for class certification. The plaintiffs’ class-certification

motion was filed on May 2, 2016, making the government’s response originally due on May 16,

2016. With plaintiffs’ consent, the government previously sought and obtained an eight-week

extension of its response deadline, through July 11, 2016. The government maintains that

deferral of the class-certification issue is warranted because the issue of numerosity can best be

briefed, in its view, only after the Court has decided what claims will remain after resolution of

the motion to dismiss. In addition, counsel for defendant has been unable to complete the needed

response to the class-certification motion because he has been busy drafting the dispositive

motion in this case and working on several other actions, including discovery in two unrelated

employment-discrimination actions that have involved several depositions in the past month.
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Counsel for defendant has also been called upon to devote nearly all of his time in the past three

weeks (when he was not in, or preparing for, depositions) to the completion of a complex

summary-judgment motion in another case involving classified information that has required him

to work nearly every day since mid-June.

       The plaintiffs consent to the government’s additional two-week extension request. In the

plaintiffs’ view, however, an indefinite stay or deferral of class-certification briefing would be

inappropriate and counterproductive because the Court can decide both motions after they are

briefed in parallel. Moreover, in plaintiffs’ view, any further deferral would be unduly dilatory

because the government has already requested and obtained an eight-week extension on its class-

certification motion and is now requesting an additional two weeks—cumulatively a full ten

weeks from the government’s original deadline.

       Accordingly, defendant now seeks an additional 14 days, through July 25, 2016, to

respond to the class-certification motion (if briefing is not stayed indefinitely pending resolution

of the motion to dismiss). The plaintiffs consent to the government’s request for 14 more days,

provided that the government takes no further extensions.

       2. The government’s motion to dismiss. After obtaining the eight-week extension

on its class-certification response, the government filed its motion to dismiss on June 27, 2016.

Absent an extension, the plaintiffs’ response would be due on July 11, 2016. Plaintiffs now seek

an initial 18-day extension of their time to respond, through July 29, 2016. Good cause exists for

the extension because lead counsel for the plaintiffs, Deepak Gupta, has an unusually large

number of obligations that have prevented, and will continue to prevent, him from devoting

sufficient attention to the brief absent an extension. Those obligations include assisting with a

brief due on July 5 in the U.S. Court of Appeals for the Ninth Circuit (in a complex tax appeal);

preparing an opposition to intervention due on July 7 in California Superior Court (in an
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environmental dispute over oil drilling in Los Angeles); and a brief due in the D.C. Circuit on

July 13 (in defense of the District of Columbia’s gun laws in the face of a Second Amendment

challenge). In addition, Mr. Gupta is assisting with a brief due on July 14 in the Sixth Circuit (in

an appeal concerning the 2016 presidential election) and the other lead attorney on this case

from him firm, Jonathan Taylor, is out of the country for a pre-planned vacation from July 1-10.

       Accordingly, the plaintiffs seek an initial extension of 18 days of the time to respond to the

government’s motion to dismiss. The government consents to this initial extension request.

                                         CONCLUSION

       For the foregoing reasons, the parties respectfully request that the government’s deadline

to respond to the plaintiffs’ motion for class certification be extended to July 25, 2016 (if briefing

on the motion is not stayed indefinitely), and further request that the plaintiffs’ deadline to

respond to the government’s motion to dismiss be extended to July 29, 2016. A proposed order

accompanies this motion.

                                               Respectfully submitted,

                                                /s/ Deepak Gupta
                                               DEEPAK GUPTA (D.C. Bar No. 495451)
                                               GUPTA WESSLER PLLC
                                               1735 20th Street, NW
                                               Washington, DC 20009
                                               (202) 888-1741

                                               William H. Narwold (D.C. Bar No. 502352)
                                               MOTLEY RICE LLC
                                               3333 K Street NW, Suite 450
                                               Washington, DC 20007
                                               202) 232-5504
                                               Attorneys for Plaintiffs

                                               CHANNING D. PHILLIPS (D.C. Bar No. 415793)
                                               United States Attorney
                                               DANIEL F. VAN HORN (D.C. Bar No. 924092)
                                               Chief, Civil Division
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                                    /s/ W. Mark Nebeker
                                    W. MARK NEBEKER (D.C. Bar No. 396739)
                                    Assistant United States Attorney
                                    555 4th Street, N.W.
                                    Washington, DC 20530
                                    (202) 252-2536
                                    Attorneys for Defendant
July 8, 2016
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2016, I filed this joint motion for an extension of time to

file through this Court’s CM/ECF system, which will send a notice of electronic filing to all

counsel required to be served.

                                                            /s/ Deepak Gupta
                                                            Deepak Gupta
